Dear Secretary Carnahan:
This opinion letter responds to your request dated December 26, 2007, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition to amend various chapters of the Missouri Revised Statutes of Missouri.
We approve the petition as to form, but Section 116.332 gives the Secretary of State final authority to approve or reject the petition. Therefore, our approval of the form of the petition does not preclude you from rejecting the petition.
Because our review of the petition is simply for the purpose of determining sufficiency as to form, the fact that we do not reject the petition is not to be construed as a determination that the petition is sufficient as to substance. Likewise, because our review is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or of the objectives of its proponents, or the expression of any view respecting the adequacy or inadequacy of the petition generally.
Very truly yours,
  JEREMIAH W. (JAY) NIXON Attorney General